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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern District of Texas
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Orbital Gas Systems, North America, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               3      6      4    7    6 7 0        1 8
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  5444 Westheimer Road, Suite 1650                          5444 Westheimer Road, Suite 1650
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                              Houston                      TX       77056
                                              ______________________________________________               Houston                     TX        77056
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             Harris
                                              ______________________________________________               5444 Westheimer Road, Suite 1650
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                            Houston                     TX       77056
                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.orbitalinfrastructuregroup.com
                                              ____________________________________________________________________________________________________




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Debtor         Orbital Gas Systems, North America, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3 ___
                                             ___ 8 ___
                                                    2 ___
                                                       6

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ✔ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor         Orbital Gas Systems, North America, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        ✔ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                       See attached Rider
      business partner or an             ✔ Yes. Debtor _____________________________________________
                                                                                                    Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         
                                         ✔ No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor
             Orbital Gas Systems, North America, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                         

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                         
                                         ✔ 200-999

                                          $0-$50,000                        
                                                                             ✔ $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                       ✔
                                                                             $1,000,001-$10 million                      $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8 V-DPHV)2 1HLO,,,
                                             _____________________________________________                James F. O'Neil III
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Executive Officer
                                             Title _________________________________________




  7KHDVVHWVDQGOLDELOLWLHVOLVWHGDERYHDUHDVRI-XQH
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Debtor
             Orbital Gas Systems, North America, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8          V&KDUOHV$%HFNKDP-U
                                          _____________________________________________            Date
                                                                                                              
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Charles A. Beckham, Jr.
                                         _________________________________________________________________________________________________
                                         Printed name
                                         Haynes   and Boone, LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1221 McKinney Street, Suite 4000
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Houston
                                         ____________________________________________________                 TX
                                                                                                         ____________ 77010
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          713.547.2243
                                         ____________________________________                            FKDUOHVEHFNKDP#KD\QHVERRQHFRP
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         02016600
                                         ______________________________________________________    Texas
                                                                                                ____________
                                         Bar number                                             State




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                                            RIDER 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Southern District of Texas for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases under the case number assigned to the chapter 11 case of Orbital Infrastructure
Group, Inc.:

Orbital Infrastructure Group, Inc.

Orbital Gas Systems, North America, Inc.

Orbital Power, Inc.

Orbital Solar Services, LLC

Eclipse Foundation Group, Inc.
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                 Omnibus Action by Unanimous Written Consent of the Governing Bodies (Revised)
                                              August 17, 2023

                    The undersigned, being the sole member of, and/or all of the members of each of the
            boards of directors, managing members, managers or other governing bodies (each, a
            “Governing Body” and, collectively, the “Governing Bodies”) of, each of the entities listed on
            Exhibit A hereto (each, an “Entity” and, collectively, the “Entities”), hereby take the following
            actions and adopt the following resolutions by written consent in accordance with the applicable
            bylaws or limited liability company agreements and articles or certificates of organization,
            formation or incorporation of each Entity, and the applicable laws of the jurisdiction in which
            such Entity is organized:

                   WHEREAS, the Governing Bodies have reviewed and had the opportunity to ask
            questions about the materials presented by the management and the legal and financial advisors
            of the Entities regarding the liabilities and liquidity of each Entity, the strategic alternatives
            available, and the impact of the foregoing on the Entities’ businesses;

                    WHEREAS, the Governing Bodies have had the opportunity to consult with the
            management and the legal and financial advisors of the Entities to fully consider each of the
            strategic alternatives available to the Entities;

                   WHEREAS, the Governing Bodies have received, reviewed, and considered the
            recommendations of, and the materials presented by, the management and the legal and financial
            advisors of the Entities regarding the relative risks and benefits of pursuing cases under the
            provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

                    WHEREAS, the Governing Bodies have received a description of proposed terms
            relating to, and reviewed and considered the recommendations of, and the materials presented
            by, the management and the legal and financial advisors of the Entities regarding (a) a
            superpriority senior secured debtor-in-possession credit agreement to be entered into by and
            among Orbital Infrastructure Group, Inc., a Texas corporation (“OIG”), as borrower, Front Line
            Power Construction, LLC, a Texas limited liability company (“Front Line”), and such other
            entities as the lenders shall require as guarantors thereto, the various lenders from time to time
            party thereto, and Alter Domus (US) LLC, as Administrative Agent and Collateral Agent
            (together with all exhibits, schedules, and annexes thereto, as amended, amended and restated,
            supplemented, or otherwise modified from time to time, the “Front Line DIP Loan Credit
            Agreement”) and (b) a superpriority senior secured debtor-in-possession credit agreement to be
            entered into by and among OIG, as borrower, Gibson Technical Services, Inc., a Georgia
            corporation (“GTS”), and such other entities as the lender shall require as guarantors thereto, and
            Streeterville Capital, LLC, a Utah limited liability company as lender (together with all exhibits
            schedules, and annexes thereto, as amended, amended and restated, supplemented, or otherwise
            modified from time to time, the “Streeterville DIP Loan Credit Agreement” and, together with
            the Front Line DIP Loan Credit Agreement, the “DIP Credit Agreements,” and each, a “DIP
            Credit Agreement”), for debtor-in-possession financing;

                   WHEREAS, the independent and disinterested directors for the Governing Bodies have
            reviewed the transactions related to the DIP Credit Agreements, including the distribution and
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            assignment of all of the outstanding shares of common stock, no par value, of Eclipse
            Foundation Group, Inc., a Texas corporation (“EFG”), from Front Line, a wholly owned
            subsidiary of OIG, to OIG, such that EFG will be a wholly-owned subsidiary of OIG following
            such distribution and assignment (the “EFG Distribution”) to be made at the request and with
            the consent of the lenders under that certain Credit Agreement, dated as of November 17, 2021,
            by and among Front Line, as borrower, EFG, OIG, ALTER DOMUS (US) LLC, as
            administrative and collateral agent, and the lenders from time to time party thereto, as amended,
            and have determined that the EFG Distribution is in the best interest of the Entities in furtherance
            of obtaining the liquidity and commitments contemplated by the DIP Credit Agreements;

                   WHEREAS, the Governing Bodies have reviewed with the management and the legal
            and financial advisors of the Entities the resolutions set forth below;

                    WHEREAS, the Governing Bodies have confirmed and affirm that each Entity is a
            related entity of each other Entity, and any Entity that guarantees the debt of another Entity
            under the DIP Loan Documents (defined below) will receive substantial benefit directly or
            indirectly from the incurrence of the debt contemplated under the DIP Credit Agreements; and

                    WHEREAS, the Governing Bodies have determined that taking the actions set forth
            below and the transactions contemplated hereby are advisable and fair to, and in the best interests
            of, the Entities and their stakeholders and, therefore, have adopted the resolutions set forth below
            and authorized and approved the transactions, agreements, and actions contemplated, authorized
            and ordered hereby:

            I.      Commencement of Chapter 11 Cases

                     NOW, THEREFORE, BE IT RESOLVED, that the Governing Bodies have determined,
            after due consultation with the management and the legal and financial advisors of the Entities,
            that it is desirable and in the best interests of each Entity and its stakeholders that each Entity
            shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition seeking relief
            (each case, a “Chapter 11 Case” and, together, the “Chapter 11 Cases”) under the provisions of
            chapter 11 of the Bankruptcy Code, and any other petition for relief or recognition or other order
            that may be desirable under applicable law;

                    RESOLVED, FURTHER, that each officer, director, and manager of each Entity (each,
            an “Authorized Person”), acting alone or together, with power of delegation be, and hereby is
            authorized, empowered, and directed to (a) execute and file in the name and on behalf of the
            applicable Entity, including in each Entity’s capacity as a shareholder or member of its
            subsidiaries or as a member of a Governing Body, and under its corporate seal or otherwise, all
            plans, petitions, schedules, statements, motions, lists, applications, pleadings, orders, and other
            documents in the United States Bankruptcy Court for the Southern District of Texas (the
            “Bankruptcy Court”), and to take any and all action that they deem necessary or proper to
            obtain such relief, (b) employ and retain all assistance by legal counsel, accountants, financial
            advisors, investment bankers, and other professionals, and (c) take and perform any and all
            further acts and deeds that such Authorized Person, who may act without the joinder of any other
            Authorized Person, deems necessary, proper, or desirable in connection with the Chapter 11
            Cases, including without limit (i) negotiating, executing, delivering, and performing under any
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            and all documents, agreements, certificates, and instruments in connection with the transactions
            and professional retentions set forth in this resolution, (ii) appearing as necessary at all
            bankruptcy proceedings in the Bankruptcy Court on behalf of the Entities, and (iii) paying all
            such expenses where necessary or appropriate in order to carry out fully the intent and
            accomplish the purposes of the resolutions adopted herein.

            II.     Retention of Advisors

                   RESOLVED, that each Authorized Person shall be, and hereby is, authorized,
            empowered, and directed on behalf of and in the name of each Entity to retain the law firm of
            Haynes and Boone, LLP, located at 1221 McKinney Street, Suite 4000, Houston, Texas 77010,
            as counsel for the Entities in the Chapter 11 Cases, subject to Bankruptcy Court approval;

                   RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is,
            authorized, empowered, and directed on behalf of and in the name of each Entity to retain
            Alvarez & Marsal North America, LLC, located at 540 W. Madison St., Suite 1800, Chicago, IL
            60661,1 as restructuring advisors for the Entities in the Chapter 11 Cases, subject to Bankruptcy
            Court approval;

                   RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is,
            authorized, empowered, and directed on behalf of and in the name of each Entity to retain Moelis
            & Company, located at 399 Park Avenue, 4th Floor, New York, New York 100222, as investment
            banker for the Entities in the Chapter 11 Cases, subject to Bankruptcy Court approval;

                   RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is,
            authorized, empowered, and directed on behalf of and in the name of each Entity to retain
            Donlin, Recano & Company, Inc., 6201 15th Avenue, 6201 15th Avenue, Brooklyn, New York
            11219, as claims, noticing, solicitation, and administrative agent for the Entities in the Chapter
            11 Cases, subject to Bankruptcy Court approval;

                    RESOLVED, FURTHER, that each Authorized Person shall be, and hereby is,
            authorized, empowered, and directed on behalf of and in the name of the Entities to retain any
            other legal counsel, accountants, financial advisors, restructuring advisors, or other professionals
            as the Authorized Persons deem necessary, appropriate, or advisable, each of which, in addition
            to the foregoing firms, to represent and assist the Entities in carrying out their respective duties
            and responsibilities and exercising their respective rights under the Bankruptcy Code (including
            the law firms filing any pleadings or responses); and in connection therewith, the Authorized
            Persons be, and hereby are authorized, empowered, and directed, in accordance with the terms
            and conditions hereof, to execute appropriate engagement or retention agreements, pay
            appropriate retainers, and cause to be filed appropriate applications for authority to retain such
            services and reimburse the fees and expenses incurred in connection with the Chapter 11 Cases;
            and
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                    RESOLVED, FURTHER, that the execution of any engagement or retention agreements
            with and the payment of any appropriate retainers to the foregoing firms prior to the date hereof
            is hereby ratified, confirmed and approved.

            III.    DIP Credit Agreements

                    RESOLVED, that the Governing Bodies have determined, after due consultation with the
            management and the legal and financial advisors of the Entities, that it is desirable and in the best
            interests of each Entity and its stakeholders to (a) authorize each Authorized Person to negotiate
            and enter into each of the DIP Credit Agreements for debtor-in-possession financing up to an
            aggregate principal amount of [$[•] million]3, any other further documentation relating to each
            respective DIP Credit Agreement, and/or the other transaction documents (including, without
            limitation, the Loan Documents (as defined in each DIP Credit Agreement), pledge agreements,
            guarantee agreements, security agreements, intercreditor agreements, control agreements, deposit
            account control agreements, promissory notes, mortgages, intellectual property security
            agreements, financing statements, swap agreements, collateral access agreements,
            acknowledgment letters, payoff letters, fee letters, termination agreements, intellectual property
            release agreements, control agreement terminations, and any other documents under which a
            security interest in the assets of an Entity is being created in favor of the lenders under each DIP
            Credit Agreement), and each other agreement, document or instrument required thereunder,
            collectively and together with each DIP Credit Agreement, and the other Loan Documents (as
            defined in each of the DIP Credit Agreements respectively; collectively, the “DIP Loan
            Documents”) in the form and upon the terms and conditions as an Authorized Person may
            approve (such approval to be conclusively established by such Authorized Person’s execution
            and delivery thereof), (b) perform the applicable Entity’s obligations under the DIP Loan
            Documents, including payments of principal, interest, fees and expenses related thereto, and take
            all actions in accordance therewith that any of the Authorized Persons may deem necessary or
            advisable to consummate the transactions contemplated thereby;

                    RESOLVED, FURTHER, that each Entity is hereby authorized, and each Authorized
            Person shall be, and hereby is, authorized, empowered, and directed on behalf of and in the name
            of each Entity, together with the Entities’ advisors, to (a) seek interim and final approval of the
            DIP Loan Documents from the Bankruptcy Court pursuant to a debtor-in-possession loan
            financing order substantially on the terms presented to the Governing Body authorizing the
            applicable Entities entering into the DIP Credit Agreements (the “DIP Order”) and (b) take all
            actions (including negotiating and executing any agreements, documents, or certificates)
            necessary or advisable to implement the DIP Order, including (i) paying any fees and expenses
            related thereto, (ii) guarantying the obligations of any of the loan parties under the under the DIP
            Loan Documents, (iii) pledging the stock or limited liability company interest of any subsidiary
            of any Entity under the DIP Loan Documents, (iv) providing for adequate protection to the
            prepetition secured parties of the Entities in accordance with section 363 of the Bankruptcy
            Code, (v) granting superpriority status and first priority priming liens and perfected security
            interests in, and pledging, mortgaging, and granting deeds of trust with respect to, its right, title,
            and interest in and to its properties and assets, whether now owned or hereafter acquired, to the
            extent required to secure the obligations of the loan parties under the DIP Loan Documents, with
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            such changes therein and additions thereto as any Authorized Person executing the same may, in
            his or her absolute discretion, deem necessary, advisable, convenient or appropriate, the
            execution of the DIP Loan Documents and security documents thereto to be conclusive evidence
            of the approval thereof, (vi) consummating the EFG Distribution as a condition precedent to
            obtaining funding under the DIP Credit Agreements, and (vii) consummating the transactions
            contemplated by the foregoing, including incurring the obligations stated in connection
            therewith; and

                    RESOLVED, FURTHER, that each Entity is authorized, and each Authorized Person
            shall be, and hereby is, authorized, empowered, and directed on behalf of and in the name of
            each Entity, to (a) negotiate and agree to any changes to the DIP Order and DIP Loan Documents
            as he or she believes is appropriate and necessary under the circumstances in his or her
            reasonable judgment, (b) execute and deliver any amendments, modifications, renewals,
            replacements, consolidations, substitutions, and extensions of each DIP Credit Agreement and
            the DIP Loan Documents (including amendments increasing the amount of credit available under
            each DIP Credit Agreement and/or extending the maturity of the same), (c) cause the Entities to
            enter into, execute, deliver, certify, file and/or record, and perform under the DIP Loan
            Documents and such other documents, agreements, instruments, and certificates as may be
            required by the DIP Order or the DIP Loan Documents, (d) cause the Entities to take all steps,
            make or cause all filings with the applicable governmental agencies or departments, and sign all
            documents and agreements necessary to secure the DIP Credit Agreements with the Collateral
            (as defined in each DIP Credit Agreement), and (e) do such other things that shall, in his or her
            absolute discretion, be necessary, desirable, proper, or advisable to give effect to the foregoing
            resolutions, which determination shall be conclusively evidenced by his or her execution thereof.

            IV.     Potential Sale Transactions

                    RESOLVED, that each Authorized Person shall be, and hereby is, authorized,
            empowered, and directed, on behalf of and in the name of each Entity, to file a motion with the
            Bankruptcy Court seeking approval of bidding procedures to facilitate a potential sale of all,
            substantially all, or a material portion of the Entities’ assets (including, for the avoidance of
            doubt and without limitation, the equity of each of Front Line Power Construction, LLC, a Texas
            limited liability company, and Gibson Technical Services, Inc., a Georgia corporation) pursuant
            to section 363 of the Bankruptcy Code (each, a “Potential Sale Transaction”), all substantially
            in accordance with the terms of any summary presented to the Governing Bodies, subject to such
            modifications thereto as such Authorized Person deems necessary or advisable in order to give
            effect to and carry out the general purposes of the Potential Sale Transactions as presented to
            each Governing Body;

                    RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
            empowered, and directed, on behalf of and in the name of each Entity, to conduct a further
            marketing process to identify and maximize the value of the Potential Sale Transactions with the
            assistance of the Entities’ investment banker(s) and other professional advisors, all under the
            supervision and direction of the Bankruptcy Court; and

                 RESOLVED FURTHER, that each Authorized Person shall be, and hereby is, authorized,
            empowered, and directed, on behalf of and in the name of each Entity, to (a) take actions and
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 12 of 25




            negotiate and, subject to Bankruptcy Court approval as required, to execute, deliver, perform,
            and cause the performance of any agreements (including equity purchase agreements and/or asset
            purchase agreements, with a stalking horse bidder or otherwise), certificates, consent resolutions,
            instruments, receipts, petitions, motions, or other papers or documents in furtherance of, and
            necessary to effectuate, any Potential Sale Transaction to which any Entity is or may become
            party and (b) request the Bankruptcy Court to approve any Potential Sale Transaction (including
            a sale of the Entities’ assets to the highest or best bidder) and for any related relief thereto.

            V.      Amendment to Governing Documents

                     RESOLVED, that to the extent that any actions authorized by these resolutions would
            result in any Entity that serves as a member of any other Entity that is a limited liability company
            to cease to be a member of such other Entity under applicable law, the limited liability company
            agreement of such other Entity is hereby amended to provide that the filing of a voluntary
            petition in bankruptcy or the other actions authorized under these resolutions shall not cause such
            member to cease to be a member of such other Entity, and in any such event, such other Entity
            shall continue without dissolution.

            VI.     General Authorization and Ratification

                    RESOLVED, that each Authorized Person shall be, and hereby is, authorized,
            empowered, and directed, on behalf of and in the name of the Entities to (a) do and perform all
            such acts and things and enter into, execute, acknowledge, deliver, and file all such certificates,
            agreements, acknowledgments, instruments, contracts, statements, and other documents and to
            take such further actions as such Authorized Person may deem necessary or appropriate to effect
            the intent and accomplish the purposes of the foregoing resolutions, the taking of such action or
            the execution and delivery thereof to be conclusive evidence of the approval thereof, (b) perform
            the obligations of the Entities under the Bankruptcy Code and exercise all rights of the Entities
            under the Bankruptcy Code (including all rights with respect to contracts, agreements, and leases
            under sections 365 of the Bankruptcy Code), with all such actions to be performed in such
            manner, and all such certificates, instruments, guaranties, notices, and documents to be executed
            and delivered in such form, as the Authorized Person performing or executing the same shall
            approve, the performance or execution thereof to be conclusive evidence of the approval thereof
            by such Authorized Person, the Governing Bodies, and the Entities, and (c) pay fees and
            expenses in connection with the transactions contemplated by the foregoing resolutions;

                    RESOLVED, FURTHER, that the omission from this written consent of any (a)
            agreement, document, or other arrangement contemplated by any of the agreements, documents,
            or instruments described in the foregoing resolutions or (b) action to be taken in accordance with
            any requirement of any of the agreements or instruments described in the foregoing resolutions
            shall in no manner derogate from the authority of the Authorized Persons to take all actions
            necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out, or further
            the transactions contemplated by, and the intent and purposes of, the foregoing resolutions;

                    RESOLVED, FURTHER, that, to the extent that any Authorized Person serves as the
            sole member, managing member, manager, general partner, partner, or other governing body
            (collectively, a “Controlling Entity”), in each case, of any direct or indirect subsidiary of any
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 13 of 25




            Entity (a “Controlled Entity”), each such Authorized Officer who may act without the joinder
            of any other Authorized Officer, be, and hereby is, authorized, empowered, and directed in the
            name and on behalf of such Controlling Entity (acting for such Controlled Entity in the capacity
            set forth above, as applicable), to (a) authorize such Controlled Entity to take any action that any
            Authorized Person is authorized to take hereunder and/or (b) take any action on behalf of such
            Controlled Entity that an Authorized Officer is herein authorized to take on behalf of such
            Controlling Entity (including execution and delivery of any authorizing resolutions);

                    RESOLVED, FURTHER, that the Governing Bodies have received sufficient notice of
            the actions and transactions relating to the matters contemplated by the foregoing resolutions, as
            may be required by the organizational documents of the Entities or under applicable law, or
            hereby waive any right to have received such notice;

                    RESOLVED, FURTHER, that any and all actions taken by any officer or director of or
            advisor to an Entity prior to the date of adoption of the foregoing resolutions, which would have
            been authorized by the foregoing resolutions but for the fact that such actions were taken prior to
            such date, be, and each hereby is, ratified, approved, confirmed, and adopted as a duly authorized
            act of the Entities in all respects and for all purposes;

                   RESOLVED, FURTHER, the undersigned certify for the benefit of the lenders under
            each DIP Credit Agreement that the undersigned includes all of the members, directors,
            managing members, managers, general partners, partners, or other governing bodies necessary to
            authorize the foregoing resolutions under the applicable bylaws or limited liability company
            agreements and articles or certificates of organization, formation or incorporation of each Entity;
            and

                   RESOLVED, FURTHER, that this consent may be executed in one or more counterparts,
            and delivered by electronic means, each of which, when so executed, shall be treated in all
            manner and respects and for all purposes as one and the same original, written consent, and shall
            be considered to have the same binding legal effect as if it were an original manually signed
            counterpart hereof delivered in person.

                                                   [Signature Pages Follow]
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 14 of 25




                     IN WITNESS WHEREOF, the undersigned, constituting the board of directors of
            Orbital Infrastructure Group, Inc., has caused this written consent to be executed as of the date
            first set forth above.

            By:
                  Name: James F. O’Neil
                  Title: Director

            By:
                  Name: William J. Clough
                  Title: Director

            By:                               by proxy
                  Name: Paul Addison
                  Title: Director

            By:
                  Name: C. Stephen Cochennet
                  Title: Director

            By:
                  Name: Corey A. Lambrecht
                  Title: Director

            By:
                  Name: Jerry Sue Thornton
                  Title: Director

            By:
                  Name: Sarah Tucker
                  Title: Director

            By:
                  Name: La Forrest Williams
                  Title: Director




            4894-5546-1238 v.4
            4880-8463-7816.v2
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 15 of 25




                    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of
            Orbital Solar Services, L.L.C., has caused this written consent to be executed as of the date first
            set forth above.

            By:
                  Name: James F. O’Neil
                  Title: Director

            By:
                  Name: William J. Clough
                  Title: Director




            4894-5546-1238 v.4
            4880-8463-7816.v2
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 16 of 25




                   IN WITNESS WHEREOF, the undersigned, constituting the board of directors of
            Orbital Power, Inc., has caused this written consent to be executed as of the date first set forth
            above.

            By:
                  Name: James F. O’Neil
                  Title: Director

            By:
                  Name: William J. Clough
                  Title: Director

            By:                               by proxy
                  Name: Paul Addison
                  Title: Director

            By:
                  Name: C. Stephen Cochennet
                  Title: Director

            By:
                  Name: Corey A. Lambrecht
                  Title: Director

            By:
                  Name: Jerry Sue Thornton
                  Title: Director

            By:
                  Name: Sarah Tucker
                  Title: Director

            By:
                  Name: La Forrest Williams
                  Title: Director




            4894-5546-1238 v.4
            4880-8463-7816.v2
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 17 of 25




                    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of
            Orbital Gas Systems, North America, Inc. has caused this written consent to be executed as of
            the date first set forth above.

            By:
                  Name: William J. Clough
                  Title: Director




            4894-5546-1238 v.4
            4880-8463-7816.v2
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 18 of 25




                    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of
            Eclipse Foundation Group, Inc. has caused this written consent to be executed as of the date first
            set forth above.

            By:
                  Name: James F. O’Neil
                  Title: Director

            By:
                  Name: Nicholas J. Clough
                  Title: Director




            4894-5546-1238 v.4
            4880-8463-7816.v2
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                     Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 19 of 25




                                                             Exhibit A

                                                           List of Entities

            1.       Orbital Infrastructure Group, Inc.
            2.       Orbital Solar Services, L.L.C.
            3.       Orbital Power, Inc.
            4.       Orbital Gas Systems, North America
            5.       Eclipse Foundation Group, Inc.




                                                              Exhibit A
            4894-5546-1238 v.4
            4880-8463-7816.v2
Debtor ORBITAL INFRASTRUCTURE GROUP, INC., et al. _____
                                                         Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 20     of 25
                                                                                                                 Case number (if known)_____________________________________




        Fill in this information to identify the case:
        Debtor name: ORBITAL INFRASTRUCTURE GROUP, INC., et al.
        United States Bankruptcy Court for the: Southern District of Texas

        Case number (If known): ______________                                                                                                                                                            Check if this is an amended
                                                                                                                                                                                                         filing

        Official Form 204
        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
        12/15


        A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
        101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.


         Name of creditor and complete mailing address, including               Name, telephone number, and email address of            Nature of the claim (for example,     Indicate if claim is                        Amount of unsecured claim
                                zip code                                                      creditor contact                       trade debts, bank loans, professional contingent, unliquidated, if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                      services, and government contracts)        or disputed         If claim is partially secured, fill in total claim amount and deduction
                                                                                                                                                                                                          for value of collateral or setoff to calculate unsecured claim.


                                                                                                                                                                                                           Total claim, if     Deduction for value of
                                                                                                                                                                                                                                                         Unsecured claim
                                                                                                                                                                                                          partially secured     collateral or setoff

      TIDAL POWER GROUP LLC                                                  MONTY JANAK
      ATTN: MONTY JANAK                                                      MANAGER
    1 4211 CHANCE LANE                                                       EMAIL - MONTY.JANAK@TIDALPOWERSERVICES.COM                            Unsecured Debt                                                                                       $         44,686,661
      ROSHARON, TX 77583                                                     PHONE - 979-299-9918




      JINGOLI POWER                                                          KARL MILLER
      ATTN: KARL MILLER                                                      CHIEF EXECUTIVE OFFICER
    2 100 LENOX DRIVE, SUITE 100                                             EMAIL - KMILLER@JINGOLIPOWER.COM                                Settlement Agreement/LWLJDWLRQ              D                                                             $         32,759,161
      LAWRENCEVILLE, NJ 08648                                                PHONE - 609-896-3111




      HC TRADESMEN STAFFING, LLC                                             DEANNA MILLER
      ATTN: DEANNA MILLER                                                    PRESIDENT
    3 1311 CHISHOLM TRAIL #404                                               EMAIL - MILLERD@TRADESMENSTAFFING.COM                      Trade Payable and Settlement Agreement                                                                          $         5,243,733
      ROUND ROCK, TX 78681                                                   PHONE - 877-931-2416




      HCS RENEWABLE ENERGY LLC                                               XUAN YONG
      ATTN: XUAN YONG                                                        CHAIRMAN AND CHIEF EXECUTIVE OFFICER
    4 111 CONGRESS AVE. STE 900                                              EMAIL - XUAN.YONG@WORKWISE.COM                                      Settlement Agreement                                                                                   $         1,200,000
      AUSTIN, TX 78701-4043                                                  PHONE - 281-864-9070



        HECTATE ENERGY WEST NEWBERRY, LLC
        ATTN: EDWARD N. MOSS                                                 EDWARD N. MOSS
        C/O CAHILL GORDON & REINDELL LLP                                     ATTORNEY REPRESENTATIVE
    5                                                                                                                                            Contract Termination                     D                                                             $           771,298
        32 OLD SLIP                                                          PHONE - 212-701-3838
        NEW YORK , NY 10005



      UNITED RENTALS                                                         MATTHEW FLANNERY
      ATTN: MATTHEW FLANNERY                                                 PRESIDENT AND CHIEF EXECUTIVE OFFICER
    6 6125 LAKEVIEW RD                                                       EMAIL - MFLANNER@UR.COM                                                Trade Payable                                                                                       $           534,201
      CHARLOTTE, NC 28269                                                    PHONE - 561-627-9658




      AMERICAN EXPRESS                                                       STEPHEN SQUERI
      ATTN: STEPHEN SQUERI                                                   CHAIRMAN AND CHIEF EXECUTIVE OFFICER
    7 200 VESEY ST                                                           EMAIL - STEVE.SQUERI@AEXP.COM                                          Trade Payable                                                                                       $           280,452
      NEW YORK, NY 10285




      FORD & HARRISON LLP                                                    BUENA VISTA LYONS
      ATTN: BUENA VISTA LYONS                                                MANAGING PARTNER
    8 1601 ELM STREET, SUITE 4450                                            EMAIL - VLYONS@FORDHARRISON.COM                                        Trade Payable                                                                                       $           246,273
      DALLAS , TX 75201                                                      PHONE - 214-256-4705




      WHITE CAP, LP
                                                                             JOHN STEGEMAN
      ATTN: JOHN STEGEMAN
                                                                             CHIEF EXECUTIVE OFFICER
    9 6250 BROOK HOLLOW PKWY STE 100                                                                                                                Trade Payable                                                                                       $           219,112
                                                                             PHONE - 770-932-0035
      NORCROSS, CA 30071




       WALL TEMPLETON ATTORNEYS                                              KEITH E. COLTRAIN
       ATTN: KEITH E. COLTRAIN                                               FOUNDING PARTNER
    10 1001 WADE AVENUE, SUITE 423                                           EMAIL - KEITH.COLTRAIN@WALLTEMPLETON.COM                               Trade Payable                                                                                       $           203,368
       RALEIGH, NC 27605                                                     PHONE - 919-865-9500




       HERC RENTALS, INC                                                     LAWRENCE H SILBER
       ATTN: LAWRENCE H SILBER                                               CHIEF EXECUTIVE OFFICER
    11 27500 RIVERVIEW CENTER BLVD, STE 100                                  EMAIL - LARRY.SILBER@HERCRENTALS.COM                                   Trade Payable                                                                                       $           153,740
       BONITA SPRINGS, FL 34134




       FAMILY TREE SERVICES, INC.
                                                                             GREG MUSGRAVE
       ATTN: GREG MUSGRAVE
                                                                             CHIEF EXECUTIVE OFFICER
    12 741 MAIN STREET                                                                                                                              Trade Payable                                                                                       $           152,510
                                                                             PHONE - 707-984-6629
       DIGHTON, MA 02715




Official Form 204                                                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                  page 1
                                          Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 21
Debtor ORBITAL INFRASTRUCTURE GROUP, INC., et al. _____
                                                                                                         of 25
                                                                                                  Case number (if known)_____________________________________




          Name of creditor and complete mailing address, including      Name, telephone number, and email address of            Nature of the claim (for example,     Indicate if claim is                        Amount of unsecured claim
                                 zip code                                             creditor contact                       trade debts, bank loans, professional contingent, unliquidated, if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                              services, and government contracts)        or disputed         If claim is partially secured, fill in total claim amount and deduction
                                                                                                                                                                                                  for value of collateral or setoff to calculate unsecured claim.


                                                                                                                                                                                                   Total claim, if     Deduction for value of
                                                                                                                                                                                                                                                 Unsecured claim
                                                                                                                                                                                                  partially secured     collateral or setoff
       JONES POWER, LLC
                                                                     JOHN CLARK
       ATTN: JOHN CLARK
                                                                     CHIEF EXECUTIVE OFFICER
       16 OFFICE PARK DRIVE, SUITE 5
    13                                                               EMAIL - JOHN.CLARK@JONESPIPELINE.COM                                   Trade Payable                                                                                       $           150,707
       POST OFFICE BOX 10937
                                                                     PHONE - 713-781-3100
       HATTIESBURG, MS 39402-6021



       SEALAR LLC
                                                                     KASSANDRA MATIAS
       ATTN: KASSANDRA MATIAS
                                                                     ATTORNEY REPRESENTATIVE
       C/O THE CROMEENS LAW FIRM, PLLC
    14                                                               EMAIL - ADMIN2@THECROMEENSLAWFIRM.COM                                  Trade Payable                                                                                       $           149,580
       1345 CAMPBELL ROAD, SUITE 200
                                                                     PHONE - 713-715-7334
       HOUSTON, TX 77055



       MOSS ADAMS LLP                                                ERIC MILES
       ATTN: ERIC MILES                                              CHIEF EXECUTIVE OFFICER
    15 999 THIRD AVENUE, SUITE 2800                                  EMAIL - ERIC.MILES@MOSSADAMS.COM                                       Trade Payable                                                                                       $           133,900
       SEATTLE, WA 98104                                             PHONE - 408-916-0571




       VERMEER HEARTLAND INC                                         STEPHEN FARRENS
       ATTN: STEPHEN FARRENS                                         CHIEF EXECUTIVE OFFICER
    16 2574 US HWY 22 NW                                             EMAIL - SFARRENS@VERMEERHL.COM                                         Trade Payable                                                                                       $           101,221
       WASHINGTON COURT HOUSE, OH 43160




       LHH RECRUITMENT SOLUTIONS                                     JOHN MORGAN
       ATTN: JOHN MORGAN                                             CHIEF EXECUTIVE OFFICER
    17 8655 BAYPINE RD, 100 BUSINESS CENTER                          EMAIL - JOHN.MORGAN@LHH.COM                                            Trade Payable                                                                                       $            97,160
       JACKSONVILLE, FL 32256                                        PHONE - 212-254-2142




       THE CRYOR GROUP                                               MICHAEL CRYOR
       ATTN: MICHAEL CRYOR                                           CHIEF EXECUTIVE OFFICER
    18 22 ROLAND GREEN                                               EMAIL - MCRYOR@CRYORGROUP.COM                                          Trade Payable                                                                                       $            90,000
       BALTIMORE, MD 21210                                           PHONE - 410-532-3549




       PREMIER TRUCK RENTAL LLC                                      ROB TROXEL
       ATTN: ROB TROXEL                                              CHIEF EXECUTIVE OFFICER
    19 9138 BLUFFTON ROAD                                            EMAIL - ROB@PREMIERTRUCKRENTAL.COM                                     Trade Payable                                                                                       $            88,204
       FORT WAYNE, IN 46809                                          PHONE - 260-824-6340




       JOHNSON POPE BOKOR RUPPEL & BURNS LLP                         CAROL HAGUE
       ATTN: CAROL HAGUE                                             CHIEF EXECUTIVE OFFICER
    20 311 PARK PLACE BLVD #3100                                     EMAIL - CAROLH@JPFIRM.COM                                              Trade Payable                                                                                       $            80,722
       CLEARWATER, FL 33759                                          PHONE - 727-461-1818




                                                                     NAME ON FILE
         NAME ON FILE
                                                                     FORMER EMPLOYEE
         ATTN: NAME ON FILE
    21                                                               EMAIL - EMAIL ON FILE                                                  Trade Payable                                                                                       $            70,000
         ADDRESS ON FILE
                                                                     PHONE - PHONE ON FILE




       PR NEWSWIRE ASSOCIATION LLC                                   ABEL CLARK
       ATTN: ABEL CLARK                                              CHIEF EXECUTIVE OFFICER
    22 200 VESEY ST, FI 19                                           EMAIL - ABEL.CLARK@CORSEARCH.COM                                       Trade Payable                                                                                       $            64,456
       NEW YORK, NY 10281




       EVERWEST PROPERTY MANAGEMENT                                  RICK STONE
       ATTN: RICK STONE                                              PRESIDENT AND CHIEF EXECUTIVE OFFICER
    23 1099 18TH STREET, STE 2900                                    EMAIL - RICK.STONE@EVERWEST.COM                                        Trade Payable                                                                                       $            61,747
       DENVER, CO 80202                                              PHONE - 303-957-5300




       KAMIND IT                                                     MATT A. KATZER
       ATTN: MATT A. KATZER                                          CHIEF EXECUTIVE OFFICER
    24 5200 MEADOWS ROAD, STE 150                                    EMAIL - MKATZER@KAMIND.COM                                             Trade Payable                                                                                       $            56,523
       LAKE OSWEGO, OR 97035                                         PHONE - 503-291-1221




       MBP CAROLINA, INC                                             CHRISTOPHER PAYNE
       ATTN: CHRISTOPHER PAYNE                                       CHIEF EXECUTIVE OFFICER
    25 3040 WILLIAMS DRIVE, SUITE 300                                EMAIL - CPAYNE@MBPCE.COM                                               Trade Payable                                                                                       $            56,518
       FAIRFAX, VA 22031                                             PHONE - 703-641-9088




       ADAPTIVE INSIGHTS INC.                                        TOM BOGAN
       ATTN: TOM BOGAN                                               CHIEF EXECUTIVE OFFICER
    26 3350 WEST BAYSHORE ROAD                                       EMAIL - TOM.BOGAN@WORKDAY.COM                                          Trade Payable                                                                                       $            55,440
       PALO ALTO, CA 94303                                           PHONE - 301-280-0809




       BROADRIDGE INVESTOR COMMUNICATIONS                            TIM GOKEY
       ATTN: TIM GOKEY                                               CHIEF EXECUTIVE OFFICER
    27 51 MERCEDES WAY                                               EMAIL - TIM.GOKEY@BROADRIDGE.COM                                       Trade Payable                                                                                       $            50,721
       EDGEWOOD, NY 11717                                            PHONE - 816-932-4850




Official Form 204                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                  page 2
                                               Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 22
Debtor ORBITAL INFRASTRUCTURE GROUP, INC., et al. _____
                                                                                                              of 25
                                                                                                       Case number (if known)_____________________________________




         Name of creditor and complete mailing address, including                 Name, telephone number, and email address of                   Nature of the claim (for example,     Indicate if claim is                        Amount of unsecured claim
                                zip code                                                        creditor contact                              trade debts, bank loans, professional contingent, unliquidated, if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                                               services, and government contracts)        or disputed         If claim is partially secured, fill in total claim amount and deduction
                                                                                                                                                                                                                   for value of collateral or setoff to calculate unsecured claim.


                                                                                                                                                                                                                            Total claim, if       Deduction for value of
                                                                                                                                                                                                                                                                               Unsecured claim
                                                                                                                                                                                                                           partially secured       collateral or setoff

       SULLIVAN & WORCESTER LLP                                               RON BEN-BASSAT
       ATTN: RON BEN-BASSAT                                                   PARTNER
    28 1633 BROADWAY                                                          EMAIL - RBENBASSAT@SULLIVANLAW.COM                                              Trade Payable                                                                                                   $              50,000
       NEW YORK, NY 10019                                                     PHONE - 212-660-5003



       CS DISCO, INC
                                                                              KIWI CAMARA
       ATTN: KIWI CAMARA
                                                                              CHIEF EXECUTIVE OFFICER
       111 CONGRESS AVE
    29                                                                        EMAIL - CAMARA@CSDISCO.COM                                                      Trade Payable                                                                                                   $              42,663
       SUITE 900
                                                                              PHONE - 713-231-9100
       AUSTIN, TX 78701



       KEY SOLAR, LLC                                                         KEVIN PRICE
       ATTN: KEVIN PRICE                                                      MANAGING PARTNER
    30 24 WATER STREET                                                        EMAIL - KPRICE@KEYSOLARLLC.COM                                                  Trade Payable                              C/D                                                                      Undetermined
       HOLLISON, MA 01746                                                     PHONE - 508-960-9891




   Parties that may be considered insiders as defined in 11 U.S.C 103 have been remove from this list. The Debtors reserve all rights as to whether such parties actually are insiders. Information regarding such parties is available to the Office of the United States Trustee upon request.




Official Form 204                                                                                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                      page 3
         Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 23 of 25




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
In re:                                            ) Chapter 11
                                                  )
ORBITAL GAS SYSTEMS, NORTH                        ) Case No. 23-_______ (__)
AMERICA, INC.,                                    )
                                                  )
                       Debtor.                    )
                                                  )

                          LIST OF EQUITY SECURITY HOLDERS

         Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, Orbital Gas

Systems, North America, Inc. hereby provides the following list of holders of equity interests:

             Name and Address of                         Percentage of Interests Held
                Interest Holder
 Orbital Infrastructure Group, Inc.
 5444 Westheimer Road, Suite 1650                                    100%
 Houston, TX 77056

DATED:          August 2, 2023


                                             ORBITAL GAS SYSTEMS, NORTH
                                             AMERICA, INC.


                                             By: /s/ James F. O’Neil, III
                                             James F. O’Neil III
                                             Chief Executive Officer
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                 )
In re:                                           ) Chapter 11
                                                 )
ORBITAL GAS SYSTEMS, NORTH                       ) Case No. 23-_______ (__)
AMERICA, INC.,                                   )
                                                 )
                       Debtor.                   )
                                                 )

                       STATEMENT OF CORPORATE OWNERSHIP

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of Orbital Gas Systems, North America, Inc. certifies that the

following corporate entities/individuals own more than 10% of the Debtor’s equity interest.

                  Shareholder                             Percentage of Total Shares
 Orbital Infrastructure Group, Inc.
 5444 Westheimer Road, Suite 1650                                     100%
 Houston, TX 77056


DATED:          August 2, 2023

                                            ORBITAL GAS SYSTEMS, NORTH
                                            AMERICA, INC.


                                            By: James F. O’Neil III
                                            James F. O’Neil III
                                            Chief Executive Officer
                      Case 23-90764 Document 1 Filed in TXSB on 08/23/23 Page 25 of 25

 Fill in this information to identify the case and this filing:


              Orbital Gas Sytems, North America, Inc.
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: Southern                            Texas
                                         ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         
         ✔ Other document that requires a declaration__________________________________________________________________________________
                                                     Statement of Corporate Ownership and List of Equity Security Holders




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________                         8
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                                                          _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                James F. O'Neil III
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
